Case 1:24-cv-00648-AA   Document 23-70   Filed 06/20/24   Page 1 of 6




                        EXHIBIT 76
     Case 1:24-cv-00648-AA             Document 23-70           Filed 06/20/24         Page 2 of 6                                   EXHIBIT 76


                                                                                               "'- .... ~   \
                                                                                    .:: ·\aMloro,s ~·•:,.


                                                                               (:                                                t'~
                                                                               1           •                                    ;
                                                                                .                                               ~



                                                                                                                       /
                                                                                                                       ~
                                                                                                                  o.,v...-
                                                                                                                           ...!:.;
                                                                                                        1C        ...~
                                                                                                        ....... •.,.




[Translator's note: The following sworn testimony is taken from the witness
statement by David FOUET submitted to the Ministry of Justice]

Indicate below the events you witnessed or observed personally:

Ms. BROWN had made a reservation from April 5 to 13, 2024. Thursday
April 14th [sicJ [recte 11th}, she called to inform us that she had
returned to the USA and was therefore cancelling the end of the week.
So she asked us to ship her luggage back to the USA . At the request of
the police, I looked at the hotel 's surveillance camera footage and saw
Ms. BROWN, her mother, and two daughters leaving the hotel on the
morning ofApril 8. Two hours later, Ms. BROWN returned alone to get
her own suitcase, but left the children 's suitcases, stuffed animals, the
girls ' clothes, and an Apple watch. The police asked me not to send the
suitcases back to the USA as the items were important in the child
abduction investigation. The belongings were recovered by Mr. PARIS
with police authorization. Dental retainers were also found in the
suitcase. From the surveillance videos, I was able to identify the car they
left in. But when Ms. BROWN returned to pick up her suitcase, the car
was not the same.
I attest to all of this in my capacity as the manager of the hotel.

AFFIDAVIT
I, the undersigned (first name, last name) : -'D=-a=v""--'id'-'-F---'O'-'U"'-"E"-'T_ _ _ _ _ _ _ _ _ __
do hereby swear on my honor that the information provided on this form is exact.
Executed in:   Perpignan                on June 3, 2024
[Signature]




                                EXHIBIT 76 - PAGE 1 OF 5
       Case 1:24-cv-00648-AA                     Document 23-70                  Filed 06/20/24                  Page 3 of 6
                                                             I                                           •



                    Nous sommes la pour vous aider                                                                         '11527·03


                                                                                                                          CID
                                        Att sta io                        e temoi
                    (/lrt,ct s zo     1 203 clL1 codtc.• de proc xlur        c1v1l    Hl1cl    1'l 1-,       LI c <I•· p r1c1ll




 Vo re identit


D Mid m                             ,Won 1cur
Votrt ,,om d.: fdn ill· ,,




votre prof
Vat,    .,ctr   s
Complf"'mCnl d ti
Code po~li.ll IL1                         Crnrn nunt"'
P1ys    _ \-...._·-'-'-==---'--=--- -

Lien ct p1rr-nte. d zill1,1nct                                                                communaut            c.l IntrrPts ,w(\c
IE' p,1rt1e    OU1 0
<:>1 OLH . pr . Is : l qL1P.l



Sachc1nl qu l Ll tc1t1un '>t-r c1 ul1l1, •., n JU lie ... t c.onn 11 .,, 111u· p, I!'.•• <I 5 cl 1&pos1t,on • d l .1rl1cle
•141 • 7 JL1 r..;ou•" p •11<1l r • rnn,,nt l lcil (i-,.:, 1111-111 l 1lt,:.::.tc1l1on fdi ,ml o?tr1t d♦:- f.11ls 11111 ri ll• rncnt
111 • ,tC.l<, C.hlpr S 1c1pp,1t~.'

u Est punl d'un n d'emprl onn ment       t de 15000 uro d' m nd                                                  bllr une
 ttestation ou un certlflcat f Is nt t t de f Its m t rlellement In
fcctt,, p/11os" do1t t, , .cnlt c, d1.•ssous 01111,~, m1 nt (/ ~ volrt momJ




                                                             ru C I u

                                              EXHIBIT 76 - PAGE 2 OF 5
     Case 1:24-cv-00648-AA          Document 23-70           Filed 06/20/24        Page 4 of 6


In     1 c•• .:,,ssous I st I s ouxqu Is vous ave, oss1ste au que vou'.i av z canst t • s
       ell rn nl:




                                             11   c 2 ur .


                                   EXHIBIT 76 - PAGE 3 OF 5
    Case 1:24-cv-00648-AA           Document 23-70        Filed 06/20/24         Page 5 of 6




 P ce aJolndre :

• Un origin I ou unP pho ocop1e d'un clocum nt offic1el ju hfianl   ~ volr   ,   n 11 et
comportant volre s,_n lure


ATTESTATION SUR L'HONNEUR
J sou s1gn~ 1Cprenom nom
c rllfi ur I honn ur qu~ Les r ns




                                    EXHIBIT 76 - PAGE 4 OF 5
Case 1:24-cv-00648-AA   Document 23-70    Filed 06/20/24   Page 6 of 6




                         EXHIBIT 76 - PAGE 5 OF 5
